                      IN THE SUPREME COURT OF NORTH CAROLINA

                                             2022-NCSC-38

                                               No. 154A21

                                         Filed 18 March 2022

      IN THE MATTER OF: J.I.G. and A.M.G.


            Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) (2019) from an order entered on

     19 March 2021 by Judge Denise Hartsfield in District Court, Forsyth County. This

     matter was calendared for argument in the Supreme Court on 18 February 2022 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.



            Melissa Starr Livesay for petitioner-appellee Forsyth County Department of
            Social Services.

            Mary V. Cavanagh and Jordan P. Spanner for appellee Guardian ad Litem.

            Robert W. Ewing for respondent-appellant father.


            MORGAN, Justice.

¶1          The trial court in this case terminated the parental rights of respondent-father

     to two juveniles, James and Amy1, after finding that clear, cogent, and convincing

     evidence supported the existence of three grounds for the termination of parental

     rights as enumerated in N.C.G.S. § 7B-1111(a) (2021). Respondent-father challenges



            1 In accord with the regular practice of our appellate courts, pseudonyms have been

     utilized in lieu of the actual names of the children to protect their identities.
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     the evidentiary basis for the trial court’s adjudication of the existence of each of the

     three grounds but does not challenge the trial court’s conclusion that termination of

     respondent-father’s parental rights served the best interests of the juveniles. Because

     we determine that clear, cogent, and convincing evidence supports the trial court’s

     findings of fact which support the determination that respondent-father “is incapable

     of providing for the proper care and supervision of the juvenile, such that the juvenile

     is a dependent juvenile within the meaning of [N.C.G.S. §] 7B-101, and that there is

     a reasonable probability that the incapability will continue for the foreseeable future”

     as required by N.C.G.S. § 7B-1111(a)(6), the trial court’s order terminating

     respondent-father’s parental rights is affirmed.

                        I.   Factual and Procedural Background

¶2         On 5 May 2017, 9-week-old James was admitted to the intensive care unit of

     Brenner Children’s Hospital in Forsyth County after James’s mother called the

     telephone emergency number 911 to report that the juvenile was limp and appeared

     to have ceased breathing. The attending physician determined that James was in

     critical condition due to extensive non-accidental trauma which included

     approximately 67 fractures to the infant’s bones throughout his body. The mother

     told the attending physician that she had left James propped upon the edge of a bed

     with a bottle and had left the room. When the juvenile’s mother returned to the room,

     James was nonresponsive on the floor. A Forsyth County Department of Social
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Services (DSS) social worker interviewed James’s mother at the hospital. The mother

provided vacillating stories regarding the circumstances which existed at the time

that the juvenile suffered his injuries. First, the child’s mother represented that she

was the only person who provided care for James and his three-year-old sister Amy,

and that Amy must have been the one to hurt James because Amy was “hyper.”

Initially, the mother refused to reveal the identity of the father of James and Amy.

Eventually, the mother revealed that respondent-father was the father of James and

Amy, along with the disclosure that he had been residing in the same home as the

children at the time of James’s injuries. The mother explained that respondent-father

would look after the children while she worked, and that respondent-father had been

taking care of James and Amy while the mother worked on the night before James

was admitted to the hospital for the infant’s injuries. The DSS social worker

interviewed the juvenile Amy on the following day. The social worker asked Amy if

she knew how her brother James had been injured, and the three-year-old

affirmatively nodded her head. Amy volunteered that “Mommy threw the baby on the

floor” and that “Mommy was mad and shoved brother in [sic] the floor,” as recorded

by the DSS social worker. DSS also interviewed respondent-father who, like the

mother, could not offer a plausible explanation for the cause of the injuries to James.

While respondent-father instead repeatedly admitted that he had dropped James on

the floor, the attending physician explained that respondent-father’s story could not
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     account for the extent of the infant’s injuries.

¶3         On 9 May 2017, Forsyth County DSS filed juvenile petitions which alleged that

     both James and Amy were neglected and dependent juveniles, and that James was

     also an abused juvenile. The trial court entered orders granting nonsecure custody of

     both children to DSS on the same day based on the allegations contained within the

     petitions. On 13 September 2017, an adjudication hearing was held concerning the

     petitions. Respondent-father stipulated to the factual basis contained within the

     petitions, resulting in the trial court adjudicating James to be an abused, neglected,

     and dependent juvenile, and adjudicating Amy to be a neglected and dependent

     juvenile. Respondent-father was actively engaged in satisfying his case plan by

     attending the majority of his assigned parenting classes, visitation sessions, and

     court-ordered   mental    health and      substance       abuse   assessments.   However,

     respondent-father was arrested on 7 November 2017 and charged with four counts of

     felony child abuse based upon the injuries sustained by James in May 2017.

     Respondent-father remained incarcerated throughout the pendency of this case due

     to his inability to secure funds to post his assigned bond on the felony charges.

¶4         On 6 December 2019, Forsyth County DSS filed a motion to terminate the

     parental rights of the mother and respondent-father. However, due to COVID-19,

     issues with notice, and the illness of counsel, the trial court dismissed the termination

     motion without prejudice. DSS subsequently filed a second motion on 13 November
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     2020 to terminate the parental rights of the children’s mother and respondent-father,

     alleging that grounds existed to terminate respondent-father’s parental rights to both

     James and Amy under N.C.G.S. § 7B-1111(a)(1) (neglect) and (6) (incapacity), and

     additionally as to James alone under N.C.G.S. § 7B-1111(a)(1) (abuse). The TPR

     motions in this case were heard on 22 February 2021. At the hearing, the trial court

     received testimony from DSS social workers, the Guardian ad Litem for the juveniles,

     the mother of the juveniles, and respondent-father. On 19 March 2021, the trial court

     entered an order pursuant to this hearing which terminated the parental rights of

     the mother and respondent-father to both James and Amy.

¶5         Based on previous adjudication orders entered in this case, DSS’s

     investigation, and the testimony provided at the TPR hearing, the trial court entered

     findings in the termination of parental rights order which reflect that respondent-

     father has “severe cognitive defects” which present themselves as deficits in

     reasoning, problem solving, planning, and judgment. Further, respondent-father has

     an IQ of 61 and has been diagnosed with unspecified intellectual disability, bipolar

     disorder, and ADHD. Respondent-father has received SSI disability payments since

     he was seven years old due to his mental health and cognitive issues, and respondent-

     father has used these funds in the past to help to satisfy the basic needs of James and

     Amy. Respondent-father was ordered to complete a parenting capacity evaluation in

     order to assess his ability to parent, but he has declined an assessment arranged by
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     DSS while he has been incarcerated.

¶6         In light of the refusal of both parents to explain the source of James’s extensive

     injuries, the trial court found that both the mother and respondent-father were

     responsible for having abused their son. The trial court found that “there is no

     evidence presented that the Father’s cognitive defects and abilities . . . are expected

     to change.” Due to respondent-father’s profound mental impairment, the trial court

     further found that respondent-father “lacks the ability to independently care for the

     minor children” and “the capacity to parent.” The trial court went on to find that clear,

     cogent, and convincing evidence supported the determination that grounds existed to

     terminate respondent-father’s parental rights to James and Amy under N.C.G.S. §

     7B-1111(a)(1) (neglect) and (6) (incapacity), and additionally as to James alone under

     N.C.G.S. § 7B-1111(a)(1) (abuse). The trial court concluded that the termination of

     the parental rights of respondent-father to James and Amy would serve the best

     interests of the juveniles. Respondent-father timely filed notice of appeal.2

                                         II.     Analysis

¶7         Before this Court, respondent-father contends that the trial court’s findings of

     fact fail to establish that he lacked the capacity to parent, that James and Amy were

     neglected juveniles, and that James was an abused juvenile at the hands of

     respondent-father. Regarding the existence of the ground of dependency as



           2 The mother is not a party to this appeal.
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     memorialized in N.C.G.S. § 7B-1111(a)(6), respondent-father cites evidence in the

     record which he submits would support a finding that he would have the capacity to

     parent the juveniles once respondent-father is released from incarceration.

     Respondent-father also challenges the trial court’s finding of fact that expresses

     respondent-father’s incapacity to parent.

¶8         Respondent-father’s appeal represents a challenge to the trial court’s

     adjudication of the existence of each ground for the termination of respondent-father’s

     parental rights contained within the order terminating his parental rights entered

     on 19 March 2021. Upon appeal, this Court is governed by the following principles:

                  We review the trial court’s adjudication under N.C.G.S. §
                  7B-1111(a) to determine whether the findings are
                  supported by clear, cogent and convincing evidence and the
                  findings support the conclusions of law. Unchallenged
                  findings of fact are deemed supported by competent
                  evidence and are binding on appeal. Moreover, we review
                  only those findings needed to sustain the trial court's
                  adjudication.

                  The issue of whether a trial court's findings of fact support
                  its conclusions of law is reviewed de novo. However, an
                  adjudication of any single ground for terminating a
                  parent's rights under N.C.G.S. § 7B-1111(a) will suffice to
                  support a termination order. Therefore, if this Court
                  upholds the trial court's order in which it concludes that a
                  particular ground for termination exists, then we need not
                  review any remaining grounds.

     In re B.J.H., 378 N.C. 524, 2021-NCSC-103, ¶ 11 (quoting In re J.S., 374 N.C. 811,

     814–815 (2020) (extraneity omitted).
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¶9           Being cognizant of both respondent-father’s challenge to each of the grounds

       adjudicated to exist by the trial court and the settled rule that “the determination of

       the existence of any statutory ground which is duly supported is sufficient to sustain

       a termination order,” Id. at ¶ 12, we begin by reviewing the trial court’s adjudication

       under N.C.G.S. § 7B-1111(a)(6), which allows for the termination of parental rights

       if

                    the parent is incapable of providing for the proper care and
                    supervision of the juvenile, such that the juvenile is a
                    dependent juvenile within the meaning of G.S. 7B-101, and
                    that there is a reasonable probability that the incapability
                    will continue for the foreseeable future. Incapability under
                    this subdivision may be the result of substance abuse,
                    intellectual disability, mental illness, organic brain
                    syndrome, or any other cause or condition that renders the
                    parent unable or unavailable to parent the juvenile and the
                    parent lacks an appropriate alternative child care
                    arrangement.

       N.C.G.S. § 7B-1111(a)(6). The ground of dependency requires that the petitioner show

       by clear, cogent, and convincing evidence that (1) the parent lacks the capacity to

       provide proper care and supervision of the juvenile such that the juvenile meets the

       definition of a dependent juvenile as found in N.C.G.S. § 7B-101(9), (2) “there is a

       reasonable probability that such incapacity will continue for the foreseeable future,”

       and (3) “the parent lacks an appropriate child care arrangement.” In re Z.G.J., 378

       N.C. 500, 511, 2021-NCSC-102 ¶ 31.

¶ 10         Here, the trial court entered the following relevant findings of fact in its 19
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       March 2021 order terminating respondent-father’s parental rights:

                    79. [Respondent-father] reported to [DSS], as was found by
                    the Court at Adjudication, that he receives SSI for “mental
                    retardation, ADHD, and bipolar disorder.”

                    80. [Respondent-father] has mental health conditions
                    which include Bipolar Disorder and Attention Deficit
                    Hyperactivity Disorder. [Respondent-father] has also been
                    diagnosed with Unspecified Intellectual Disability.

                    81. [Respondent-father] has severe cognitive deficits, with
                    an IQ of 61, and due to his deficits in reasoning, problem
                    solving, planning, abstract thinking, and judgment, he is a
                    vulnerable person.

                    82. There is no evidence presented that [respondent-
                    father’s] cognitive defects and abilities as described herein
                    are expected to change.

                    ...

                    86. Testimony from the Respondent Mother, the Social
                    Worker, and the Guardian ad Litem was consistent that
                    [respondent-father] lacks the ability to independently care
                    for the minor children.

                    87. Based upon all of the foregoing, [respondent-father] is
                    unable to provide appropriate care and supervision for the
                    minor children’s needs, this incapacity is expected to
                    continue for the foreseeable future, and he lacks an
                    appropriate alternative child-care arrangement, such that
                    the minor children are dependent juveniles within the
                    meaning of [N.C.G.S. § 7B-101(9)].

                    88. . . . [Respondent-father] is not able to provide the care
                    and supervision that the minor children require.

¶ 11         Respondent-father’s sole argument in his exception to the trial court’s finding

       of the ground of dependency is that “the trial court’s findings of fact and conclusions
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       that [respondent-father’s] mental illness rendered him incapable of parenting his

       children at the time of the termination hearing was [sic] not supported by the

       competent evidence.” While respondent-father expressly challenges only Finding of

       Fact 86, Finding of Fact 87 is also implicitly challenged by its inclusion of the trial

       court’s ultimate finding as to respondent-father’s ability to parent. All other findings

       of the trial court are unchallenged by respondent-father regarding the ground of

       dependency. These unchallenged findings are therefore “deemed supported by

       competent evidence and are binding on appeal.” In re T.N.H., 372 N.C. 403, 407
       (2019).

¶ 12         In support of his specific contention, respondent-father admits that the DSS

       social worker testified that respondent-father had not demonstrated to DSS his

       ability to parent, but argues that the social worker’s testimony also established that

       respondent-father had exercised all of his scheduled visitations with the children

       during which he demonstrated safe parenting skills. Respondent-father further

       argues that the trial court’s findings concerning his incapacity to parent could not be

       supported by the testimony of the children’s Guardian ad Litem because, while the

       Guardian ad Litem testified that respondent-father was incapable of parenting, the

       Guardian ad Litem did not observe any of the visitations or review the DSS record of

       the visitations.

¶ 13         Respondent-father’s acknowledgement of the evidence offered by the social
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       worker and Guardian ad Litem regarding their respective observations that

       respondent-father was incapable of parenting, when juxtaposed against more

       favorable testimony regarding other aspects of respondent-father’s displayed

       parenting skills, illustrate that the question posed to us in this regard is not whether

       the trial court’s findings of fact were supported by clear, cogent, and convincing

       evidence, but whether the trial court assigned the proper weight and credibility to

       the evidence before it. The assignment of weight and evaluation of the credibility of

       the evidence resides solely within the purview of the trial court, and the trial court’s

       factual determinations which are supported by clear, cogent, and convincing

       evidence, including the testimony of the social worker and Guardian ad Litem in the

       case at bar, are binding on appeal “notwithstanding evidence to the contrary.” In re

       J.R.F., 2022-NCSC-5, ¶ 34.

¶ 14         Respondent-father also notes that the testimony of the children’s mother could

       not support the trial court’s findings related to his inability to parent because, at the

       termination of parental rights hearing, the mother abruptly exited the hearing by

       withdrawing from the virtual meeting prior to being subjected to cross-examination

       by respondent-father’s counsel. We agree with respondent-father that the mother’s

       opinion about his ability to parent should not factor into the trial court’s

       determination of the existence of grounds in light of the adversarial nature of the

       adjudicatory phase of termination of parental rights proceedings. Compare In re R.D.,
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       376 N.C. 244, 253 (2020) (“While it is axiomatic that cross-examination of an adverse

       witness is an essential right in adversarial proceedings, the dispositional stage of a

       termination proceeding is not adversarial.” (citation omitted)), with N.C.G.S. § 7B-

       1109(f) (2021) (“The rules of evidence in civil cases shall apply” at the adjudication

       phase.). Concomitantly, we do not find the mother’s opinion or the trial court’s

       consideration of her opinion to be particularly salient on the point of respondent-

       father’s incapacity to parent, and “we limit our review to those challenged findings

       that are necessary to support the trial court’s determination that respondent-father’s

       parental rights should be terminated.” In re N.G., 374 N.C. 891, 900 (2020). The

       portion of the trial court’s Finding of Fact 86 which refers to testimony of the mother

       is thereby discarded in our analysis of the trial court’s order. Id. at 901 (disregarding

       portion of finding of fact not supported by the evidence.).

¶ 15         Even after addressing respondent-father’s challenges to the trial court’s

       adjudication of grounds to terminate his parental rights under N.C.G.S. § 7B-

       1111(a)(6), there remain ample unchallenged findings of fact supported by clear,

       cogent, and convincing evidence to support a finding of dependency. The trial court

       found that respondent-father suffered from severe mental infirmities which

       demonstrably impaired his ability to reason, plan, exercise judgment, think

       abstractly, and problem solve. Respondent-father had a tenuous grasp of the concept

       of dates as evidenced by his provision of random, inaccurate birthdates of his children
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       and his initial testimony that the children were last in his care years prior to James’s

       birth. Respondent-father testified that “it shouldn’t be that long” before he would be

       able to complete the parenting capacity evaluation and parenting classes despite

       being incarcerated awaiting trial on felony charges with an unknown release date.

       The trial court considered such evidence and incorporated its determinations

       regarding the information in a manner which is supported by the record and

       appropriately assessed by the trial court.

¶ 16         Contrary to respondent-father’s contention that the trial court’s findings were

       “not based on the evidence at the time of the termination proceeding” because the

       trial court did not consider his participation in mental health and parenting services

       prior to his incarceration, the trial court’s uncontested findings establish that, at the

       time of the termination hearing, respondent-father suffered from debilitating mental

       infirmities which rendered him incapable of providing care for James and Amy such

       that the juveniles were dependent as defined by N.C.G.S. § 7B-101(9). The trial

       court’s further uncontested findings establish that the juveniles “lack[ed] an

       appropriate alternative child-care arrangement” and that respondent-father’s

       “incapacity is expected to continue for the foreseeable future.” Therefore, the trial

       court’s order contains sufficient findings of fact, which are in turn supported by clear,

       cogent, and convincing evidence, to support the trial court’s ultimate determination

       that grounds existed under N.C.G.S. § 7B-1111(a)(6) to terminate respondent-father’s
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       parental rights. Because we conclude that at least one of the alleged grounds for the

       termination of respondent-father’s parental rights was supported by findings of fact

       based on clear, cogent, and convincing evidence, we need not address respondent-

       father’s further challenges regarding the remaining grounds of abuse or neglect. In

       re B.J.H., 378 N.C. at 529.

                                      III.    Conclusion

¶ 17         The trial court order terminating respondent-father’s parental rights as to

       James and Amy reflected the trial court’s finding that respondent-father’s incapacity

       to parent rendered the juveniles dependent as defined by N.C.G.S. § 7B-101(9), and

       that there was a reasonable probability that the incapability would continue for the

       foreseeable future. This finding was supported by other uncontested findings of fact

       or by clear, cogent, and convincing evidence on the record. Respondent-father does

       not appeal the trial court’s dispositional conclusion that termination of respondent-

       father’s parental rights would serve the best interests of the children. We therefore

       determine that there is no error in the trial court’s order entered on 19 March 2021

       which terminated the parental rights of respondent-father.

             AFFIRMED.
